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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                   Plaintiffs,

                           v.                           ORDER

     JASON KESSLER, et al.,
                                                        JUDGE NORMAN K. MOON
                                  Defendants.


          Defendant Christopher Cantwell, proceeding pro se, has this week arrived in the District

   for his appearance at trial in this case which begins on October 25, 2021. This Court previously

   granted in part Mr. Cantwell’s request for access to certain materials before trial, and ordered he

   be provided with a computer in the courtroom to view trial exhibits. Dkt. 1228 (Order of October

   14, 2021). In his motion, Mr. Cantwell further stated that he will “work with the Clerk and/or

   Plaintiffs” concerning what documents he may need and when “for any given day of trial.”

   Dkt. 1122 at 1–2. Finding that facilitating such communication would promote efficient

   preparation of parties including Mr. Cantwell to present their case at trial, the Court DIRECTS

   that

          1) Plaintiffs’ counsel and Mr. Cantwell SHALL MEET AND CONFER this day

              (October 21, 2021), at a time available to Mr. Cantwell’s facility of incarceration, to

              discuss what materials, including any specific motions or items on the docket, Mr.

              Cantwell shall request for use at the pretrial conference on October 22, 2021, and for

              use at the first two days of trial on October 25 and 26, 2021;




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          2) The Clerk’s Office shall provide the United States Marshals Service a current

              copy of the docket in this case, which shall be provided to Mr. Cantwell before the

              meet-and-confer, to facilitate such meeting.

          3) Plaintiffs shall provide the Clerk’s Office (for Mr. Cantwell’s use at the pretrial

              conference on October 22, 2021), in paper copy, such specific materials as requested

              by Mr. Cantwell that are on the public docket. The Clerk’s Office will have paper

              copies for Mr. Cantwell’s use on October 22, 2021, of any orders or opinions that

              have issued since he began transit from USP Marion, so Plaintiffs shall be only

              responsible for providing Mr. Cantwell paper copies of any other specific documents

              that are not orders or opinions.

          4) Mr. Cantwell shall be prepared at the pretrial conference to raise any remaining

              specific requests he may have to facilitate his preparations for trial in this case, or to

              prepare his defense.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record, to

   Christopher Cantwell, and to the U.S. Marshals Service.




                                                  DATED: October 21, 2021




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